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Exhibit A-1
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April 26, 2020 through September 26, 2023

4/26/2020;
1.5 hours @ 75% =
1.125 hours

4/24 ~ 5/15/2020
5.0 hours, 4.3 hours.
2.1 hours, 6.0 hours,
5 hours, 2.0 hours,
4.0 hours, 2.5 hours,
1.5 hours, 4.0 hours,
4.5 hours, 2.0 hours,
5.0 hours, 4.0 hours,
9.0 hours, 7.0 hours,
6.0 hours, 2.0 hours,
5.0 hours, 4.0 hours,
9.0 hours, 7.0 hours,
6.0 hours = 102.4 hours
102.4 hours @ 75% =

76.8 hours
§/20/2020;

.2 hours
6/19/2020

5 hours

Review of Cohen Law defendants’ Answer to amended
complaint; review of Dorland’s answer and counterclaim
for Copyright Infringement and related relief filed by
Dorland; copied and emailed to Larson; preparation and
filing of proposed joint statement of counsel.

Research and beginning of preparation in numerous drafts
of Motion to Dismiss Dorland’s Counterclaims under Rule
12(b)(6); compilation of documents, emails to Larson,
research, writing and fact investigation; final preparation of
Motion and Memorandum and Certificate of Consultation
under Local Rule 7.1; filing of Motion, Memo with 9
attachments and Certification. Filing of motion to substitute
incorrect exhibit for proper exhibit.

Letter to court with courtesy copies of Motion and
Memorandum.

Review of Dorland’s Opposition to Motion to Dismiss
under Rule 12(b)(6) with copy to client.
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7/1/2020
.6 hours

No time allocated directly to copyright counterclaims

7/6,7, 8- 15/2020

3.6 hours, 4.0 hours,
6.5 hours, 2.5 hours,
5,0 hours, 3.5 hours,
.7 hours, 7.0 hours,
5.0 hours, 5.0 hours,
5.0 hours, 2.5 hours,
2.0 hours, 2.0 hours,
2.5 hours, 3.7 hours| =
60.5 hours @ 75% =

45.375 hours
7/29/2020

5 hours
8/14/2020

5 hours

Review of Motion for Judgment on the Pleadings by Cohen
Defendants and Memo in support; copy to client.

Research and preparation of Motion for Leave to file
Second Amended Complaint and Memorandum in support
with 11 Attachments; preparation of Second Amended
complaint and filing in court with Cert. of Consultation
under Rule 7.1; telephone call and emails; research and
writing of two oppositions (1) Motion to Dismiss of Cohen
Law Defendants for lack of jurisdiction, and (2) Motion to
Dismiss of Dorland to Larson’s Counts I, I], V and VHI;
numerous emails with Larson and filing in court with
affidavits.

Review of Oppositions to Motion to Amend Complaint and
email to Larson with copies.

Review of Judge Talwani’s order granting Larson’s Motion
for Leave to Amend her complaint and denying the Cohen
Defendants’ Motion for Judgment on the Pleadings; copy to
client.
Case 1:19-cv-10203-IT

8/16/2020
8 hours @ 50% =
.4 hours

8/31-9/1/2020:

.4 hours

9/4, 8/2020
.4 hours @ 50% =

2 hours
10/2/2020

2.5 hours
1/6-7/2021

15.3 hours
1/15/2021

.8 hours
1/27/2021

1.8 hours

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Filing of Second Amended Complaint in court with leave
granted together with 16 exhibits.

Conference with counsel re: Cohen Defendants’ Motion to
extend discovery and other deadlines.

Review of Cohen Defendants’ answer to Second Amended
Complaint and copy to Larson; review of Dorland’s answer
to Second Amended Complaint and Counterclaim.

Began preparation of answers to interrogatories in draft
form.

Compilation and preparation of documents for production
of documents; copying of documents in office.

Preparation for and telephone conference with Elovecky
and Greene regarding alleged discovery deficiencies.

Preparation of Motion for Protective Order and to extend
scheduling order deadlines, circulation to counsel for
Cohen and Dorland; preparation of Cert. under Rule 7.1
and filing with court.
Case 1:19-cv-10203-IT

2/2/2021
1.9 hours @ 60% =
1.14 hours
2/3/2021
1.6 hours @ 50% =
8 hours
2/4-5/2021
5.0 hours @ 50% =
2.5 hours

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Review of Judge Talwani’s order, granting in part and
denying in Part Larson’s Motion to dismiss under Rule
12(b)(6); copy to Larson with email explanation; numerous
emails with Nancy Perlman, attorney for GrubStreet
regarding stipulation for protective order circulated by
Suzanne Elovecky; suggested changes to stipulation;
further review of court order and email to client, Jennifer
Farrell Esq. and Kritika Shukla, Esq.; email to Matt
Greene, Esq. regarding depositions of Cohen Defendants.

Research to answer client question regarding email to
Kritika Shukla, Esq. regarding deposition and litigation
privilege; email to Suzanne Elovecky regarding Stipulation
and proposed Order; email with client; quick review of
subpoenaed documents; email and review of email from
Elovecky regarding document dispute.

Continuing work on production of documents; long
telephone conversation with Larson; meeting in Somerville
to pick up smart card with further documents from client;
copying in office of 425 additional pages of documents (4
sets) for production plus 115 pages of additional documents
supplied by Suzanne Elovecky and 1500 copies of Boston
Book Festival (“BBF”) documents. Total copies made:
3,315; US Express Mail postage to attorneys.
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2/8-9/2021
4.1 hours

No time allocated directly to copyright counterclaims
Research re: litigation privilege on cases found by Kritika
Shukla, Esq.; preparation of notices of deposition of
Defendants and email to attorneys and follow-up emails;
review of BBF subpoena production; emails with Suzanne
Elovecky and client.

2/11, 12, 13, 14, 15/2021

2.8 hours, 5.0 hours,

2.8 hours, 1.0 hours,

2.0 hours, 1.3 hours,

2.0 hours, 1.8 hours,

1.6 hours =

20.3 hours.

Work on answer to Dorland’s Counterclaim, document
production and interrogatories; numerous emails to Larson;
review of BBF production; long telephone conversation
with Larson, deposition preparation and questions.

2/17/2021
1.9 hours

Preparation of Motion to Enlarge Time; telephone
conversation with client; circulation among attys; email
from Matt Greene, Esq.; changes to Motion to Enlarge
Time; email to Suzanne Elovecky; prep of Rule 7.1
certification; filing of Motion in court; work on answer to
Counterclaim and affirmative defenses; telephone
conversation with Larson regarding deposition and
discovery.

2/18/2021
3.9 hours
Finish answer to Counterclaim; sent to client for review;
work on interrogatories; filing of answer in court through
ECF; work on interrogatories to Dorland and email with
client.
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2/19, 22, 23 & 24/2021
1.0, 3.5, 2.9, 1.2,
1.6 hours = 10.2 hours

10.2 hours @ 75% =
7.65 hours
2/25/2021
2.2 hours

3/8-10/2021
2.1 hours @ 50% =

1.05 hours
3/1 1-12/2021

5 hours
3/15/2021

.6 hours

3/17-18/2021
8, 3, .4, 1.4, 1.3,.7 hours =
4.9 hours

More work on interrogatories ; numerous emails with
Larson — fact investigation re: information about lawsuit
involving Christopher Perry (husband of Dorland); work on
interrogatories; letter to Larson; refinement of
interrogatories after review by client; email to/from Larson.

Final work on Second Request for Documents to Dorland;
sent to client for further comments and to attorneys for
service; review of documents supplied by Cohen Law and
research.

Long letter to Miles Siegel, Esquire for consult on
procedure and tactics; letter to insurance company and
email and Express Mail.

Letter to Elovecky and Greene with renewed deposition
notices sent to all Defendants.

Review of Dorland’s Motion to Compel and Memo.

Telephone consult with Miles Siegel, Esquire; three emails
to/from Jeff Smokler, public relations specialist for consult
on press publicity; telephone call with Larson; conference
telephone call with Larson and Robert Kolker; telephone
call with Ethan Bassoff re: expert witness; email and
telephone call with Larson re: story.
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3/19, 20, 21/2021

. 5, 2.5, 5, 2.5=
6.0 hours
3/22/2021
4.7 hours
3/23/2021
10.9 hours

3/25-26/2021
3.0, 1.5, 2.4, 5 =
7.4 hours

3/27-28/2021

5, 2.3, 1.8,2.0 =
6.6 hours
3/29/2021
3.0, 4.0 =
7.0 hours
4/1/2021
2.0 hours

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Organized Dorland’s documents from Minecraft and initial
review of Motion to Compel; examination of documents
and taking notes from same; start of approach to motion to
compel; two telephone calls with Larson and emails of
documents.

Work on Opposition to Motion to Compel

More work on memo and review of pertinent telephone
messages.

Long telephone call with Larson; second draft of
opposition; went through discovery; started preparation for
depositions; telephone call with Larson and Robert Kolker;
Express Mail to attorney with documents of thumb drive.

Telephone call from Larson re: strategy; more work on
opposition.

Finished Memo and exhibits; filed in court; numerous
telephone calls with Larson and preparation of affidavit.

Telephone call with Larson and possible witnesses
including Sari Bowen and Adam Stumacker.
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4/3, 4, 5/2021
2.0, 2.2, 1.9, 1.8, 2.3,
.8 hours =
11.0 hours

4/11-14/2021
3.0 hours

4/20, 21, 22/2021
1.4, 4.0, 2.1, .8,
2.5 hours =
10.8 hours

4/23/2021

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Email with Larson re: discovery; preparation of Motion to
Compel, numerous telephone conversations and texts with
Larson; telephone conference with Suzanne Elovecky and
Matthew Greene re: Rule 7.1 Motion conference; filing of
Motion on emergency basis; Court appearance via ZOOM
with Judge Talwani; follow-up telephone conversation with
Larson.

Telephone conversation with Larson and Sarah Green,
editor of Welcome to the Neighborhood anthology; work of
documents and deposition preparation; email with Larson
and telephone call with Nancy Perlman, Esq., atty for
GrubStreet.

Review of Opposition to Motion to Compel; email to
Larson, notes; start work on Reply to Motion and Affidavit.

.9, 1.5, 2.0 = 4.4 hours @50% =

2.2 hours

4/25-29/202 1
1.6, 3.2, 3.5, 1.8, 2.2, 3.8,
3.1, 1.2, .7, 1.0, .5=
22.6 hours

Telephone conversation with Julie Carter; work on Memo
and research.

Preparation of Reply to Opposition to Motion to Compel
and affidavits and compilation of exhibits; telephone conf.
with Larson.
Case 1:19-cv-10203-IT Document 221-2 Filed 10/13/23 Page 10 of 20

4/29/2021
3 hours
Review of protective order from Suzanne Elovecky, Esq.
and email to Nancy Perlman, Esq. atty for GrubStreet;
assent to Motion.
5/7/2021
5 hours
Obtain and review “Using Sources Effectively” for insight
on plagiarism from academic viewpoint.
5/11-12/2021
1.0 hours

Receipt of subpoenaed documents from Bread Loaf
Conference at Middlebury College and transcription of
telephone message from Dorland to College; forward to
client, two follow up emails re: deposition; questions to
Miles Siegel, Esq.; email to client with question and
request to follow up on Dorland’s emails to Larson’s
friends with copies of texts produced in discovery.

5/13-14, 17/2021
7.9 hours

Research and preparation for court hearing before Judge

Marianne Bowler on competing Motions to Compel

Discovery; Court hearing on 5/14; telephone conference

with Larson; preparation for and participation in Court

hearing on 5/17; telephone conference with Larson.
Copies: $24.25

5/19/21
-6 hours
Review of revised stipulation regarding confidential
documents from GrubStreet and suggested revisions;
emails to Elovecky; several emails to set up Rule 7.1
conference.

5/19/21
.3 hours
Rule 7.1 meet and confer telephone call with Atty.
Elovecky and attorney from Matthey Green’s office as
order regarding discovery.
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6/2-4/21
4.3 hours
Compilation and production of additional documents to
Attorneys Elovecky and Green; letter to attorneys.
Photocopies (736): $110.40
Postage: $19.10
Staples: $56.90

6/22/21
-4 hours
Telephone conversation with Sonya Larson regarding
deposition and Dorland production of documents.

7/6-7,9/21
2.0 hours

Preparation of Request for Extension of Time regarding
discovery; Local Rule 7.1 Conference; several emails back
and forth to attorneys; email with Larson regarding dates
for depositions; preparation of Deposition Notices and
changes, letter; filing of extension Motion with court;
telephone conversation with Julie Carter, email,
disbursements to Larson.

7/22-23, 28-30/21
353.9, 4.1, 8.5 =

16.8 hours
Telephone call from Larson regarding deposition
preparation; preparation for Zoom conference and witness
preparation of Larson, additional preparation of Larson for
deposition and long deposition of Sonya Larson.
8/13-19/21
4.0, 2.0, 1.0, 6.9,
4.5, 7.6, 8.5 =
34.5 hours

Research litigation privilege, work product, attorney-client
privilege; review of objections to topics of Rule 30(b)(6)
deposition; compilation of exhibits; email to Matthew
Green, attorney for Cohen Defendants and stenographer.
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8/26-7, 29-31, 9/1-3/21
5.0, 3.4, 4.5, 4.0,
3.0, 5.0, 3.0, 7.6,

7.5 = 43.0 hours @ 75% =
32,25 hours

9/1 7-18, 20-22/21
.3, 1.0,1.0, 3.4,
6.0, 8.5 =

20.2 hours

9/23/21
1.5 hours

9/24-28/21

17.8 hours

9/30, 10/1 & 4/21;
4.1 hours

10/5/21
1.0 hours

Extensive consultation and strategy session with Attorney
Miles Seigle, email, research; telephone conference with
Larson; outline of questioning of Cohen Defendants;
preparation of requests for documents and admissions from
Cohen Defendants; research with Larson as limited public
figure; fact investigation of additional lawsuits filed by
Cohen Defendants.

Several emails with attorneys trying to schedule
depositions; telephone conversation with Larson and start
of deposition preparation and motion for Summary
Judgment; part I of deposition of Dawn Dorland Perry.

Fact checking telephone conversation with Steven Stern of
the NY Times.

Start of research and preparation of Motion for Summary
Judgment; Part II of Larson deposition.

Review of and preparation and filing of Opposition to
Cohen Law’s Motion to Compel, revisions by Larson.

Reading of NY Time Magazine article on Bad Art Friends.
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10/12, 14-15/21;
4,5, 1.0, 1.6=
3.5 hours
Preparation for Zoom court appearance and follow-up in
court appearance; telephone conversation with client;
research re: bad faith litigation; email and telephone
conversation with Larson; email to attorneys regarding
Local Rule 7.1 conference.

10/19-21/21
5.8 hours
Telephone conversation with Larson; preparation for Zoom
call with attorneys, research; review of requests for
admission; follow-up telephone conversation with
Attorneys Matthew Greene and Suzanne Elovecky,
research, preparation of request for Mediation.

12/10/21
5) hours
Several emails to Larson regarding mediation memo for
Judge Cabell and required settlement proposals to
Defendants.

1/18-19/2022
2.2 hours

Email from Attorney Suzanne Elovecky representing Dawn
Dorland regarding abuse of process claim; research; email
and follow-up telephone conversation with Sonya Larson;
preparation of settlement proposal as ordered by Magistrate
Judge Donald Cabell in preparation for upcoming
mediation; conference telephone conversation with
Attorney Elovecky and Matthew Green, research, telephone
conversation with Sonya Larson.

1/20 thru 23/22
3.0, 3.0, 2.0, 4.5 =
12.5 hours
More work on mediation memo for Judge Cabell.
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1/24/2022

2/1-2/2022

3.5 hours

5.1 hours

2/7, 10 thru 15/2022

3, .5, 1.5, 1.0, 2.3, 1.5,

1.0,2.4=

10.5 hours

2/16 thru 20/2022

4,1.7,1.5,.3,.3=

2/28/2022

4.2 hours

3.9 hours

Continuation of work on mediation memorandum; emails
to and from Larson; filing of final memorandum with Judge
Cabell’s clerk.

Additional reading of NY Times article, ““Who is the Bad
Art Friend” in preparation for mediation; telephone
discussion with Larson in preparation for mediation;
mediation with all parties before Judge Cabell.

Research actual damages under Copyright Act; telephone
conversation with Larson regarding suggested language for
Attorney Elovecky; begin work on Opposition to Motion
for Reconsideration; research; electronic court filing from
Judge Talwani denying motion for reconsideration; email
to Larson; begin work on joint statement.

Review of draft response from Larson; long email to
Larson with comments; consult with Attorney Lucy
Lovrien; more work on letter to Attorney Elovecky; email
to client’ telephone conversation with Larson; response
with changes to counter-proposal transmission to Elovecky;
email to/from Larson and response to Elovecky question.

Draft of letter to Suzanne Elovecky, Esq., attorney for
Dawn Dorland, email to Sonya Larson; legal research;
work on possible Motion for Summary Judgment regarding
copyright issues only.
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3/2, 3 & 8, 2022
3.4 hours
Revisions to letter to Atty. Elovecky, email to client,
feedback from client and additional revisions to letter;
additional legal research especially derivative works under
Copyright Act; additional refinements to draft Motion for
Summary Judgment regarding copyright issues only.

3/17, 18 & 21, 2022
9 hours
Draft of letter to Judge Donald Cabell regarding mediation;
back and forth emails with Sonya Larson and Attorney
Elovecky; final revisions to letter to Judge Cabell with
email exchanges.

3/22, 24 & 31, 2022
8.5 hours

Writing and legal research on Motion for Summary
Judgment dealing exclusively with copyright issues;
telephone conference with Judge Cabell regarding
mediation, discussion regarding damages and attorney’s
fees in copyright infringement actions and that Dorland is
not entitled to attorney’s fees because she did not register
her Facebook letter in a timely fashion but that Larson is
entitled to attorney fees under First Circuit opinion directly
on point; preparation of red-lined changes to Dorland letter.

4/6 & 7, /2022

8 hours
Revisions to letter in settlement of Dorland’s copyright claims,
discussions with Sonya Larson, email to Attorney Elovecky, email
to Larson regarding response from Atty. Elovecky to red-lined
letter.
6-2-3/2022
.3 hours

Review of request from attorney Suzanne Elovecky, Esq.,
attorney for Dawn Dorland Perry, to request scheduling
conference regarding summary judgment motions. Review
of proposed request to Judge Talwani and email to
Attorney Elovecky stating no objection
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6/13-15/2022
5.3 hours

Research and preparation of outline of copyright portion of
Memorandum in support of Motion for Summary
Judgment; totally relevant to counterclaims for copyright
infringement. Sent draft of outline to client for review and
comment along with letter and request from Elovecky —
estimated half time related to copyright claims.
Refinements to copyright memo outline and preparation for
Zoom Court Appearance before Judge Talwani; totally
relevant to counterclaims for copyright infringement.

6/30/2022
3.3 hours
Reading and highlighting of Day 1 of Dawn Dorland Perry
deposition transcript; totally relevant to copyright
infringement issues.

7/4/22
6.6 hours
Reading deposition Day 2 of Dorland deposition; taking
notes, prep of more facts

7/5/22
4.6 hours
More work of facts; review of documents
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7/6/22
5.0 hours
More work on memo
7/7/22
5.4 hours
Additional work on memo
7/8/22
5.0 hours
Research, preparation, more work
7/9/22
1.1 hours
Legal research
7/10/22
1.2, 2.0,2.7=
6.9 hours
Continued work on memo
7/11/22
1.2 hours
More work on memo
7/16-19/22
1.5, 1.8, 1.5, 1.0, .5,.6=
6.9 hours
Research, preparation, letter to client, reread Bassichis v
Flores, email to Miles Siegle, Esq. Finished Dorland Dep,
day 2, telephone call with client.
7/20/22
1.7 hours
Research, fact investigation, preparation
7/21/22
.8 hours
Rule 7.1 conference with Suzanne Elevecky and Matt
Green, follow up with motion by Green to extend time.
8/4/22
8 hours

More work on memo
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8/12/22
1.2 hours
More work on memo
9/8-29/22
6.0, 3.8, 2.9, .5 =
13.2 hours
Work on memo and motion incorporating changes
requested by Larson.
1/1-9/23

3.0, 2.3, 3.0, 1.8, 1.5,

1.1, 2.3, 1.0, 1.0, 2.0, .8,

1.3, .9, 1.6, 1.2, 1.4, 1.3,

1.7, 1.5, 1.1, 3.0, .8,

2.5 =

38.1 hours

Preparation over numerous days and filing of response to
statement of material facts, reply to response to motion for
summary judgment with attachments and affidavit of
Larson.

1/18/23 to 2/1/23
Contemporancous time not recorded
Preparation of opposition to Dorland Motion to Strike

Larson statement of material facts with supplemental
affidavit.

2/17/23
Contemporaneous time not recorded

Preparation and filing of Motion to seal affidavit containing
confidential medical information.

7/18/23
Contemporaneous time not recorded

Preparation and filing of assented to motion to file
supplemental memo regarding U.S. Supreme Court
decision in Warhol Foundation v. Goldsmith.

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7/20/23
Contemporaneous time not recorded

8/22/23

3.0, 5.0, 1.5 =

9.5 hours
9/14/23

2.2 hours
9/15/23

2.3 hours
9/26/23

Contemporaneous time not recorded

Preparation of letter request regarding U.S. Supreme Court
decision in Warhol Foundation v. Goldsmith.

Preparation for and appearance in court for oral argument
of competing Motions for Summary Judgment.

Review of Judge Talwani Memorandum and Order on
competing Motions for Summary Judgment. Telephone
conversation with Sonya Larson. Email to various attorney
who aided with this action, research on attorney’s fees.

Telephone conversation with Atty. Aaron Silverstein and
with client, research.

Preparation and filing of Motion for Reconsideration and
Memo regarding decision relative to intentional
interference claim.
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SUMMARY OF TIME AND EXPENSES

Total time from February 26, 2020 through September 26, 2023 (as allocated)= 677.7 hours

687.2 hours @ $500/hour = $343,600.00*

CASE EXPENSES: 4/24/20 TO DATE

1) Deposition transcripts:
Transcript of Sonya Larson - $961.10
Transcripts of Larson, Dorland and the Cohen Defendants. $3,626.10
Deposition transcript of Dorland - $1,060.05

Total: $6,707.03

2) Supplies and Miscellaneous items: $824.91

3) Copies: 6,413 copies @ .15 each = $961.95

4) Postage: $580.18

Total expenses: $9,074.07*

*GRAND TOTAL TIME AND EXPENSES: $352,674.07

